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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


  JOHN WALKER, JR.,

                       Plaintiff,                 22-cv-520

      -against-

  THE CITY OF BUFFALO; THE COUNTY OF
  ERIE; MICHAEL G. GUADAGNO; JOHN
  MONTONDO; LINDA J. FIAL AS
  EXECUTOR FOR THE ESTATE OF ROBERT
  GRABOWSKI; AND MARTIN BULLOCK AS
  EXECUTOR FOR THE ESTATE OF JAMES E.
  HUNTER,

                       Defendants.



                    MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFF’S MOTION TO AMEND COMPLAINT

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       Pursuant to the Case Management Order entered by the Court on September 30, 2022

[Dkt. No. 34]1 and Federal Rule of Civil Procedure 15(a)(2), Plaintiff John Walker, Jr.

respectfully submits this memorandum of law in support of his motion for leave to file an

Amended Complaint. A copy of Mr. Walker’s proposed Amended Complaint is attached to the

Declaration of Gideon Hanft, dated December 21, 2022 (the “Hanft Declaration” or “Hanft

Decl.”) submitted herewith, as Exhibit 1 (the “Proposed Amended Complaint”) and a redline

showing the proposed amendments to the initial Complaint is attached to the Hanft Declaration

as Exhibit 2. Plaintiff’s counsel asked counsel for Defendants in the initial Complaint—the City

of Buffalo, Michael G. Guadagno, John Montondo, Linda J. Fial as Executor for the Estate of

Robert Grabowski, and Martin Bullock as Executor for the Estate of James E. Hunter

(collectively, the “City Defendants”), and the County of Erie—whether they consent to the

requested relief, but Defendants’ counsel have not responded. See Hanft Decl. Ex. 3 (December

17, 2022 emails from Plaintiff’s counsel to Defendants’ counsel).

       There are three categories of amendments in the Proposed Amended Complaint. First,

the Proposed Amended Complaint adds allegations that the likely perpetrator of the Crawford

Murder, Lawrence Watson, confirmed in a 2019 interview to City police that he knew that Mr.

Walker did not commit the crime—a fact that Mr. Walker learned for the first time in documents

produced by the City Defendants last month in this action. See Hanft Decl. Ex. 1 ¶¶ 6-8. As the

initial Complaint alleges, there was substantial evidence implicating Watson for the Crawford

Murder. E.g., Compl. ¶¶ 21-123. Such evidence includes:




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  The Court’s Order provides that the deadline for a motion to amend the pleadings is December
22, 2022. See Dkt. No. 34.
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           •   Watson was the last person seen with Mr. Crawford (while leaving a bar with

               him) before Mr. Crawford was found dead (id. ¶¶ 29-30);

           •   Watson saw Mr. Crawford displaying a large amount of cash shortly before

               leaving the bar with Mr. Crawford (id. ¶¶ 31-43);

           •   Watson returned to the bar shortly after the murder occurred and rushed his wife

               out the door (id. ¶122);

           •   Watson’s wife called the bar shortly thereafter to report Watson’s keys as

               missing, and keys were recovered from the body of Mr. Crawford, whose custom

               was to ring the doorbell for his wife to let him in the side door (id. ¶¶ 39-40, 66-

               68, 76);

           •   The barmaid, Debbie Jeffrey, described Watson’s behavior as extremely unusual

               when he returned to the bar and believed that he was involved in Mr. Crawford’s

               murder (id. ¶ 95);

           •   Footprints photographed at the crime scene led towards Watson’s house and were

               consistent with Watson’s large size (id. ¶ 52); and

           •   Watson refused to be interviewed by police the morning of the murder, and he

               and his wife told conflicting stories of the evening through several rounds of

               interviews (id. ¶¶ 53-57, 69-73, 112-116, 121).

Despite the voluminous evidence pointing to Watson, the City police and Erie County District

Attorney’s Office focused their investigation and prosecution on five teenage boys, including

Mr. Walker, who had no connections to the bar, the victim, or the crime scene (or to Watson),




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ultimately causing Mr. Walker to be wrongfully convicted and incarcerated for 22 years with

another 17 years of parole supervision for the Crawford Murder. Id. ¶¶ 1-2.2

       Just last month, the City produced additional documents corroborating Mr. Walker’s

innocence—documents that the Defendants had not previously provided to Mr. Walker. The

documents are police reports, authored by the City’s cold-case unit in 2019, documenting an

interview with Watson. When City detectives asked Watson about Mr. Walker and Mr. Boyd in

connection with the Crawford Murder, nearing the end of his life, Watson replied, “They didn’t

do it.” The Proposed Amended Complaint includes this previously unknown revelation. See

Hanft Decl. Ex. 1 ¶¶ 6-8.

       Second, the Proposed Amended Complaint adds as defendants the estates of five former

City detectives who were involved in the misconduct that led to Mr. Walker’s wrongful

conviction and loss of liberty for nearly four decades. See Hanft Decl. Ex. 1 ¶¶ 19-23. At the

time Mr. Walker filed the initial Complaint, the estates of four of these detectives—Robert F.

Arnet, Frank C. Deubell, Leo J. Donovan, and Francis M. Manista—were not open. It has taken

many months for Plaintiff to identify the distributees/beneficiaries who have a right to act as

fiduciary to the estates, find addresses for such individuals, obtain required citations from the

probate court, and provide appropriate notice to the distributees/beneficiaries. This time-

intensive process was necessary for the probate court to obtain jurisdiction to appoint a

representative of each estate. The probate court only recently appointed the Erie County Public

Administrator as Administrator or Temporary Administrator of each of the four estates on

October 24, 2022, authorizing her to accept service of process in this lawsuit. See Hanft Decl.




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  As alleged in the Complaint, some of this evidence was not disclosed to Mr. Walker at or
before his criminal trial, although it should have been under Brady. Compl. ¶¶ 463-64.
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Ex. 4. For the fifth new defendant—Paul R. Delano—Plaintiff required time after the filing of

the initial Complaint to verify Mr. Delano’s executor’s address, and, to avoid seeking to amend

piecemeal, coordinated seeking leave to name Mr. Delano’s estate as a defendant with Plaintiff’s

request for leave to amend to add the four other estates.

       Third, the Proposed Amended Complaint corrects certain errors in the initial Complaint,

such as inaccurate internal paragraph references, and adds a description of the trial in People v.

Boyd that was mistakenly omitted from the Complaint in this action but was included in the

complaint filed in the consolidated action captioned Boyd v. City of Buffalo, 22-CV-519

(W.D.N.Y. Jul. 6, 2021). See Hanft Decl. Exs. 1 and 2 at ¶¶ 642-673.

       The Court should permit these amendments. Rule 15(a) of the Federal Rules of Civil

Procedure provides that a court “should freely give leave [to amend] when justice so requires.”

Fed. R. Civ. P. 15(a)(2). “[I]f the plaintiff has at least colorable grounds for relief, justice does

so require unless the plaintiff is guilty of undue delay or bad faith or unless permission to amend

would unduly prejudice the opposing party.” S.S. Silberblatt, Inc. v. E. Harlem Pilot Block--

Bldg. 1 Hous. Dev. Fund Co., 608 F.2d 28, 42 (2d Cir. 1979). That standard is easily met here.

Mr. Walker was not aware of Watson’s statement regarding Mr. Walker’s innocence until last

month, and the addition of information found in the City’s own documents cannot prejudice

Defendants. The claims against the new defendants named for the first time in the Proposed

Amended Complaint are based on their roles in the same coercive interrogation practices, failure

to disclose and preserve evidence, and violations of Mr. Walker’s constitutional rights, that were

described in detail in the initial Complaint and are already the focus of discovery in this

litigation. See Hanft Decl. Ex. 1 ¶¶ 439-471 (alleging claims against new defendants based on

same misconduct alleged in original Complaint). And such claims are timely. Even if the



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requirements for relation back under Fed. R. Civ. P. 15(c) did not apply here (which Mr. Walker

does not concede), the three-year statute of limitations applicable to cases brought under 42

U.S.C. § 1983 and the one year and ninety days set forth in New York General Municipal Law §

50-i for Plaintiff’s state-law claims still have yet to expire, since favorable termination of the

prosecution did not occur until September 23, 2021. Mr. Walker filed this motion promptly after

his representatives set up the new defendants’ estates. See Richardson Greenshields Sec., Inc. v.

Lau, 825 F.2d 647, 653 n.6 (2d Cir. 1987) (collecting cases where courts granted leave to amend

and did not find bad faith even where parties sought to “assert new claims long after they

acquired the facts necessary to support those claims”). And Mr. Walker’s compliance with the

Court’s deadline is also evidence of good faith. See Francisco v. Abengoa, S.A., 559 F. Supp. 3d

286, 313 (S.D.N.Y. 2021) (rejecting arguments for bad faith where Plaintiffs filed their motion

for leave to amend by the deadline set by the district court.)

         Finally, Defendants cannot claim any undue prejudice resulting from these

amendments. In examining prejudice, a court must consider whether the proposed amendment

would “(i) require the opponent to expend significant additional resources to conduct discovery

and prepare for trial; [or] (ii) significantly delay the resolution of the dispute.” Monahan v.

N.Y.C. Dep’t of Corr., 214 F.3d 275, 284 (2d Cir. 2000). Courts also consider the procedural

posture of the case in determining whether an amendment is prejudicial. Id. at 454–55 (finding

defendant was not unduly prejudiced where plaintiff sought leave to amend before close of

discovery). Here, Mr. Walker filed this motion within the time period permitted in the Court’s

scheduling order. See Dkt. No. 34. The City Defendants have produced minimal discovery, and

the County has not produced any discovery beyond copies of trial transcripts. Counsel for the

City Defendants have been involved in the case since the filing of the initial Complaint,



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representing both the City and former City detectives and their estates, and will presumably also

represent the five estates of the former City detectives named in the proposed Amended

Complaint. The Second Circuit has required courts to allow amendment at far later stages of

discovery. See S.S. Silberblatt Inc., 608 F.2d at 42 (reversing district court’s denial of leave to

amend where two years of discovery had already taken place). Accordingly, there is no

prejudice or undue delay that should overcome the presumption that leave to amend the

complaint should be freely given.

       For the reasons above, Mr. Walker respectfully requests that the Court grant his motion

for leave to file an amended complaint.



Dated: December 21, 2022                          Respectfully submitted,


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